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  9                              UNITED STATES DISTRICT COURT

 10                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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      DEE MARLEY, a married man;                  ) Case No.: 14CV2501AJB-RBB
 13                                               )
 14
                   Plaintiff,                     )
            vs.                                   ) JUDGMENT OF DISMISSAL
 15                                               )
 16   SELECT PORTFOLIO SERVICES,                  )
INC., a Utah Corporation;                         )
 17                                               )
 18                Defendants.                    )
                                                  )
 19
 20         The United States District Court for the Southern District of California
 21   GRANTED Defendant SELECT PORTFOLIO SERVICING, INC.’s Motion to Dismiss
 22   the Complaint of Plaintiff DEE MARLEY pursuant to Federal Rule of Civil Procedure
 23   12(b)(6) on May 11, 2015 (Doc. No.9). Plaintiff failed to file an amended complaint
 24   within thirty (30) days of the entry of the Order granting the Motion to Dismiss, as
 25   directed by the Court. Id. The Court thereafter extended the date for Plaintiff to file an
 26   amended complaint to August 10, 2015 (Doc. No. 12) and Plaintiff failed to file an
 27   amended complaint within the allowed time. With good cause appearing:
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                                               2
                                [PROPOSED] JUDGMENT OF DISMISSAL
     Case 3:14-cv-02501-AJB-RBB Document 13 Filed 08/31/15 PageID.127 Page 2 of 2




 1         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
 2         1.    This matter is dismissed with prejudice;
 3         2.    Judgment will be and is hereby entered in favor of defendant SELECT
 4               PORTFOLIO SERVICING, INC. and against Plaintiff DEE MARLEY in
 5               this lawsuit; and
 6         3.    Plaintiff DEE MARLEY will recover nothing against SELECT PORTFOLIO
 7               SERVICING, INC. in this action.
 8         4.    Each side will bear their own fees and costs.
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10   IT IS SO ORDERED.
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12    Dated: August 31, 2015
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                          [PROPOSED] JUDGMENT OF DISMISSAL
